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Federal Rules of Appellate Procedure Form 1. Notice of Appeal to a Court of Appeals
From a Judgment or Order of a District Court.




 United States District Court for the District of
 _______________________________________
 Connecticut


 File Number ____________________________
             3:10-CV-01800-WWE



Jack
 A.B.,Klein                             )
                Plaintiff,              )
        v.                              )               Notice of Appeal

                                        )
Solomon
C.D.,   & Solomon, P.C., Et Al          )
            Defendant.                  )


 Notice is hereby given that (Plaintiff here name all parties taking the appeal)      , (plaintiffs)
 (defendants) in the above-named case*, hereby appeal to the United States Court of Appeals for
 the ___________Circuit
     2nd                  (from the final judgment) (from an order (describing it)) entered in this
 action on the _______ day of _______________,
               19th             December 2011        19____.
                                                        /s/
                                                        _________________________________
                                                         J. Hanson Guest
                                                             Attorney for
                                                        ______________________
                                                         Plaintiff
                                                             Address:
                                                        ______________________
                                                         151 New Park Avenue, Hartford, CT 06106


 *See Rule 3(c) for permissible ways of identifying appellants
